          Case 6:21-cr-10068-JWB Document 40 Filed 04/12/22 Page 1 of 5




                        In the United States District Court
                             for the District of Kansas



United States of America,
                      Plaintiff,

v.                                                     Case No. 21-10068-01 JWB

Dustin Kenneth Strom,
                           Defendant.



                          Motion to Withdraw as Counsel


     Mr. Strom has requested that undersigned counsel file a motion asking the court

to remove him as counsel. Although counsel disagrees that he should be removed as

counsel for Mr. Strom, counsel files this motion to raise the issue and requests a

hearing to allow Mr. Strom to offer his position to the court.

     A. Legal background

     While Mr. Strom has a constitutionally protected right to counsel, “there is no

absolute right to counsel of one's choice.” United States v. Padilla, 819 F.2d 952, 956

(10th Cir. 1987); United States v. Nichols, 841 F.2d 1485, 1504 (10th Cir. 1988) (“An

indigent defendant must be provided with appointed counsel at state expense. But an

indigent defendant does not have a right to choose appointed counsel.”); United States

v. Johnson, 961 F.2d 1488, 1490 (10th Cir. 1992).

     The Sixth Amendment does guarantee the right to conflict-free counsel; the right

to counsel “includes the right to representation that is free from conflicts of interest.”
        Case 6:21-cr-10068-JWB Document 40 Filed 04/12/22 Page 2 of 5




Gardner v. Galetka, 568 F.3d 862, 886 (10th Cir. 2009). But the law defines conflict

of interest narrowly as “a division of loyalties that affected counsel's performance,”

Mickens v. Taylor, 535 U.S. 162, 172 n.5, 122 S.Ct. 1237, 152 L.Ed.2d 291 (2002).

While demonstrating a conflict of interest is one way for a defendant to show good

cause to warrant substitution of counsel, United States v. Porter, 405 F.3d 1136, 1140

(10th Cir. 2005), no replacement is appropriate if counsel is competent and defendant

cannot establish good cause entitling him to new counsel despite defendant’s

dissatisfaction. United States v. Beers, 189 F.3d 1297, 1302 (10th Cir. 1999)

(disagreement on strategic decisions insufficient); United States v. Willie, 941 F.2d

1384, 1391 (10th Cir. 1991) (disagreement over the interpretation of the law

insufficient); United States v. Padilla, 819 F.2d at 956 (“The defendant apparently

found his appointed and retained counsel ineffective because they would not structure

a defense as he directed. However, his complaints about counsel do not constitute

good cause for substitution of counsel.”).

   The Court certainly has wide discretion when deciding whether substitute counsel

should be appointed. United States v. Beers, 189 F.3d at 1302. “To warrant a

substitution of counsel, the defendant must show good cause, such as a conflict of

interest, a complete breakdown of communication or an irreconcilable conflict which

leads to an apparently unjust verdict.” Padilla, 819 F.2d at 955. (cleaned up). And

“good cause” for substitution of counsel consists of more than a mere strategic

disagreement between a defendant and his attorney, see Beers, 189 F.3d at 1302;

rather, there must be a total breakdown in communications. United States v. Doe #


                                             2
        Case 6:21-cr-10068-JWB Document 40 Filed 04/12/22 Page 3 of 5




1, 272 F.3d 116, 124 (2d Cir. 2001). United States v. Lott, 310 F.3d 1231, 1249 (10th

Cir. 2002).

   B. Communication breakdown standard and factors

   The types of communication breakdowns that constitute “total breakdowns” defy

easy definition, counsel knows of no court or commentator who has put forth a precise

definition. As a general matter, however, counsel believes that to prove a total

breakdown in communication, a defendant must put forth evidence of a severe and

pervasive conflict with his attorney or evidence that he had such minimal contact

with the attorney that meaningful communication was not possible. United States v.

Lott, 310 F.3d 1231, 1249 (10th Cir. 2002).

   The Tenth Circuit has used a four-factor test to examine the constitutional

implications of a total breakdown in communication including counsel unable to

provide an “adequate defense.”

   1) whether the defendant’s motion for new counsel was timely;

   2) whether the trial court adequately inquired into defendant’s reasons for
      making the motion;

   3) whether the defendant-attorney conflict was so great that it led to a total
      lack of communication precluding an adequate defense; and

   4) whether the defendant substantially and unreasonably contributed to the
      communication breakdown.

Romero v. Furlong, 215 F.3d 1107 (10th Cir. 2000).

   C. Conflict of interest

   An actual conflict of interest means a “conflict that affected counsel’s

performance—as opposed to a mere theoretical division of loyalties.” Mickens, 535

                                          3
        Case 6:21-cr-10068-JWB Document 40 Filed 04/12/22 Page 4 of 5




U.S. at 171, 122 S.Ct. 1237 (emphasis added). In other words, an actual conflict exists

when “counsel [is] forced to make choices advancing other interests to the detriment

of his client.” United States v. Alvarez, 137 F.3d 1249, 1252 (10th Cir. 1998). An actual

conflict can support an ineffective assistance of counsel claim where the conflict

prejudiced the defendant's representation. See Strickland v. Washington, 466 U.S.

668, 687–88, 694, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). Generally, a defendant must

demonstrate prejudice flowing from the conflict, but in some circumstances, a court

will presume prejudice when the conflict amounts to the complete denial of counsel.

See id. at 692, 104 S.Ct. 2052; United States v. Cronic, 466 U.S. 648, 658–60, 104

S.Ct. 2039, 80 L.Ed.2d 657 (1984).

   Counsel requests that the Court permit him to remain assigned to the case.

Undersigned counsel does not believe that substitution of counsel is necessary,

because there is no actual conflict and there is not a fundamental breakdown in the

attorney-client relationship. However, counsel requests the court hold a hearing on

the matter so that Mr. Strom may provide his position to the court.

                                         Respectfully submitted,

                                         s/David J. Freund
                                         DAVID J. Freund
                                         Sup. Ct. No. 17736
                                         Assistant Federal Public Defender
                                         Federal Public Defender Office
                                         301 N. Main, Suite 850
                                         Wichita, KS 67202
                                         Telephone: (316) 269-6170
                                         Fax: (316) 269-6175
                                         E-mail: david_freund@fd.org




                                           4
        Case 6:21-cr-10068-JWB Document 40 Filed 04/12/22 Page 5 of 5




                          CERTIFICATE OF SERVICE

   I hereby certify that I electronically filed the foregoing with the Clerk of the
Court on April 12, 2022, by using the CM/ECF system, which will send a notice of
electronic filing to all interested parties.


                                       s/David J. Freund
                                       DAVID J. Freund, Sup. Ct. No. 17736




                                          5
